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     LIMITED and Q CYBER TECHNOLOGIES LIMITED
 7
                                UNITED STATES DISTRICT COURT
 8
                               NORTHERN DISTRICT OF CALIFORNIA
 9
                                      OAKLAND DIVISION
10

11   WHATSAPP INC., a Delaware corporation,    Case No. 4:19-cv-07123-PJH
     and FACEBOOK, INC., a Delaware
12   corporation,                              DECLARATION OF JOSEPH N.
                                               AKROTIRIANAKIS IN SUPPORT OF
13               Plaintiffs,                   DEFENDANTS NSO GROUP
                                               TECHNOLOGIES LIMITED AND Q
14         v.                                  CYBER TECHNOLOGIES LIMITED’S
                                               ADMINISTRATIVE MOTION TO FILE
15   NSO GROUP TECHNOLOGIES LIMITED            UNDER SEAL AND OPPOSITION TO
     and Q CYBER TECHNOLOGIES LIMITED,         PLAINTIFFS’ MOTION TO COMPEL
16
                 Defendants.                   REDACTED VERSION OF
17                                             DOCUMENT SOUGHT TO BE
                                               SEALED
18
                                               Judge: Hon. Phyllis J. Hamilton
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                                               Action Filed: 10/29/2019
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      AKROTIRIANAKIS DECL.                                          Case No. 4:19-cv-07123-PJH
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      AKROTIRIANAKIS DECL. ISO            3                  Case No. 4:19-cv-07123-PJH
      DEF’TS’ ADMIN. MOT. TO SEAL
     Case 4:19-cv-07123-PJH Document 133-3 Filed 09/02/20 Page 5 of 9




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      AKROTIRIANAKIS DECL. ISO            4                  Case No. 4:19-cv-07123-PJH
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 5          9.      My partner, Aaron Craig, provided copies of Exhibits A through F of the Gelfand

 6   Declaration to Micah Block, Facebook’s counsel of record. I subsequently provided Mr. Block

 7   the August 3, 2020 Declaration of Roy Blecher (Defendants’ Israeli outside counsel) and the

 8   August 3, 2020 Declaration of Chaim Gelfand (Defendants’ Head of Compliance). Defendants

 9   provided copies of these documents to Plaintiffs under the “attorneys’ eyes only” provision of the

10   protective order issued by this Court (Dkt. No. 132). On September 2, 2020, I met and conferred

11   with Mr. Block concerning Facebook’s position on Defendants’ motion to seal the Sealed

12   Documents. I informed Mr. Block of Defendants’ position as to why there is good cause (and, if

13   necessary, a compelling reason) for the sealing of the Sealed Documents. Mr. Block indicated that

14   Facebook would provide its position in response to Defendants’ motion to seal.

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       AKROTIRIANAKIS DECL. ISO                      5                        Case No. 4:19-cv-07123-PJH
       DEF’TS’ ADMIN. MOT. TO SEAL
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      AKROTIRIANAKIS DECL. ISO            6                  Case No. 4:19-cv-07123-PJH
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 5           11.    Accordingly, good cause (and, if necessary, a compelling reason) exists to seal each

 6   of the above-listed documents, and Defendants respectfully request that the Court grant the

 7   accompanying Administrative Motion to File Under Seal and order the Sealed Documents be kept

 8   under seal.

 9           12.    The Declarant has carefully sought sealing of only those parts of this Declaration

10   as are necessary to comply with other legal obligations binding on Defendants, as described

11   above, and, on behalf of Defendants, respectfully submits that the good cause and compelling

12   reasons standards are met with respect to the Sealed Documents. 4

13           13.    Plaintiffs in this action served their First Requests for Production (“RFPs”) on

14   Defendants on June 4, 2020. (August 5, 2020 Declaration of Antonio Perez-Marques (“Perez-

15   Marques Decl.”), Exh. A (Dkt. No.116-2).) Defendants timely served their objections to the

16   RFPs on July 6, 2020. (Perez-Marques Decl, Exh. B (Dkt. No.116-3).) Defendants asserted the

17   two objections addressed in Plaintiffs’ motion to compel: (1) that discovery was stayed until final

18   resolution of Defendants’ foreign sovereign immunity defense and (2) that the RFPs are

19   overbroad because they seek information unrelated to the claims in Plaintiffs’ Complaint. As

20   Plaintiffs’ motion concedes (Mot. 5 n.4 (Dkt. No. 116)), Defendants also asserted multiple other

21   objections that Plaintiffs do not challenge in their motion.

22           14.    On July 9, 2020, Plaintiffs’ counsel, Mr. Perez-Marques sent me a letter disputing

23   what he called the two “threshold” objections addressed in Plaintiffs’ motion. (Perez-Marques

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25   4
       To the extent the Court disagrees with Defendants’ sealing request, the Declarant respectfully
26   requests that references to the unredacted version of this Declaration, Defendants’ unredacted
     Opposition to Plaintiffs’ motion to compel, paragraphs 2-4 of the Blecher Declaration, and
27   paragraph 6 and Exhibits A-F to the Gelfand Declaration be stricken from the docket of this action
     and that any copies thereof be destroyed.
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         AKROTIRIANAKIS DECL. ISO                      7                       Case No. 4:19-cv-07123-PJH
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 1   Decl., Exh. C (Dkt. No. 116-4).) Between July 9, 2020, and August 3, 2020, Mr. Perez-Marques

 2   and I exchanged several letters and engaged in multiple telephone conferences related to

 3   Defendants’ objections to the RFPs.

 4          15.     In all of my discussions with Mr. Perez-Marques, he was only willing to meet and

 5   confer regarding the two “threshold” objections addressed in Plaintiffs’ motion. During the

 6   parties’ conference of counsel on August 3, 2020, I asked Mr. Perez-Marques to discuss

 7   Defendants’ other objections. Mr. Perez-Marques refused. He explained that, in his view, the

 8   parties could not productively discuss those objections until the Court addresses the two

 9   “threshold” objections. Consequently, Plaintiffs’ counsel has not met and conferred with me or

10   any other of NSO’s counsel about any of Defendants’ objections other than the two objections

11   addressed in Plaintiffs’ motion to compel.

12          I declare under the penalty of perjury and the laws of the United States that the foregoing

13   is true and correct this 2nd day of September 2020, at Altadena, California.

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15                                 /s/Joseph N. Akrotirianakis
                                     JOSEPH N. AKROTIRIANAKIS
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       AKROTIRIANAKIS DECL. ISO                      8                        Case No. 4:19-cv-07123-PJH
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